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                    UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS - EASTERN DIVISION

    JOHN NAWARA,                                   )
                                                   )
            Plaintiff,                             )
    v.                                             )       Case No. 17-cv-2393
                                                   )
    COUNTY OF COOK, a unit of local Government, )          Hon. Rebecca R. Pallmeyer
    THOMAS DART, in his official capacity as       )
    Sheriff of Cook County, Illinois, KAREN JONES- )
    HAYES, MATTHEW BURKE, REBECCA                  )
    REIERSON, and WINIFRED SHELBY, in their        )
    individual capacities,                         )
                                                   )
            Defendants.                            )

 DEFENDANTS’ MOTION FOR LEAVE TO FILE A MEMORANDUM IN EXCESS OF
   FIFTEEN PAGES IN SUPPORT OF DEFENDANTS’ MOTION TO DISQUALIFY
                        COUNSEL FOR NAWARA

        Defendants THOMAS DART, in his official capacity as Sheriff of Cook County, Illinois,

KAREN JONES-HAYES, MATTHEW BURKE, REBECCA REIERSON, and WINIFRED

SHELBY, (“Defendants”) by and through their attorneys, Scharf Banks Marmor LLC move this

Honorable Court for leave to file a Memorandum in excess of fifteen pages in support of

Defendants’ Motion to Disqualify Counsel for Nawara, and in support of this Motion, Defendants

state as follows:

        1.      Pursuant to Local Rule 7.1, Defendants’ Memorandum in Support of their Motion

to Disqualify Counsel for Nawara (“Memorandum”) is not to exceed fifteen (15) pages, unless

leave of court is granted to file a longer brief.

        2.      Counsel for Defendants tried to meet the Court’s 15-page limit in their

Memorandum, but given the high standards for a motion to disqualify counsel, and the facts

necessary to adequately address the issues raised before the Court, counsel for Defendants have

been unable to shorten their memorandum to the prescribed maximum limit of fifteen (15) pages.
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        3.     Defendants’ Memorandum totals seventeen (17) pages, or two (2) pages over the

Court’s allotted fifteen- page limit.

        4.     Granting Defendants leave to file a 17-page memorandum will not prejudice

Plaintiff.

        5.     A copy of the Memorandum in Support of Defendants’ Motion to Disqualify

Counsel for Nawara is attached hereto as Exhibit A.

        WHEREFORE Defendants respectfully request that this Honorable Court grant them leave

to file their 17-page Memorandum in Support of Defendants’ Motion to Disqualify Counsel for

Nawara.

                                            Respectfully submitted,

                                            THOMAS DART, in his official capacity as Sheriff
                                            of Cook County, Illinois, KAREN JONES-HAYES,
                                            MATTHEW BURKE, REBECCA REIERSON, and
                                            WINIFRED SHELBY,

                                            /s/ Sarah R. Marmor
                                            Stephanie A. Scharf
                                            Sarah R. Marmor
                                            Lynn Moffa
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                                CERTIFICATE OF SERVICE

        I certify that on July 6, 2018, I caused to be filed the foregoing Defendants’ Motion for
Leave to File a Memorandum in Excess of Fifteen Pages in Support of Their Defendants’ Motion
to Disqualify Counsel for Nawara using the Court’s CM/ECF system, which will send e-mail
notification of the filing to all counsel of record. These documents are available for viewing and
downloading via the CM/ECF system.

                                             /s/ Sarah R. Marmor




                              Service List

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